            Case 3:17-cv-01066-JR       Document 33       Filed 01/22/19     Page 1 of 4




JOSEPH H. HUNT
Assistant Attorney General

MARCIA BERMAN
Assistant Branch Director

KAREN S. BLOOM
Senior Counsel
R. CHARLIE MERRITT
Trial Attorney
U.S. Department of Justice
Civil Division, Federal Programs Branch
919 East Main Street, Suite 1900
Richmond, VA 23219
(202) 616-8098
robert.c.merritt@usdoj.gov

Counsel for Defendant

                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON
                                   PORTLAND DIVISION

 NIESHA WRIGHT,                                   Case 3:17-cv-01066-JR

             Plaintiff,
 v.
                                                  JOINT STATUS REPORT
 ELISABETH DEVOS,

             Defendant.


         On October 2, 2017, this Court granted Plaintiff’s unopposed motion to stay this case.

ECF 10, 11. The parties now submit this Joint Status Report pursuant to the Court’s orders of

October 2, 2017, ECF 11, and January 16, 2019, ECF 32.

         As noted in the parties’ most recent status report, see ECF 27, Defendant believes that

this case has become moot and Plaintiff believes that she may be entitled to costs pursuant to 28

U.S.C. § 1920. At the end of the day on December 21, 2018, the appropriations to the


______________________________________________________________________________
Joint Status Report                              -1-                          Case No. 3:17-cv-01066-JR
         Case 3:17-cv-01066-JR         Document 33       Filed 01/22/19     Page 2 of 4




Department of Justice lapsed, generally prohibiting undersigned counsel for Defendant from

working and limiting the ability of undersigned counsel to engage in substantive communications

during the intervening period. The parties agree, however, to engage in good faith settlement

negotiations to resolve this matter once Congress appropriates funds for the Department. The

parties do not object to the stay remaining in place while they continue their discussions and

propose filing another status report by March 24, 2019, if the case has not already been

dismissed by that time.


Dated: January 22, 2019                              Respectfully submitted,


                                                     JOSEPH H. HUNT
                                                     Assistant Attorney General

                                                     MARCIA BERMAN
                                                     Assistant Branch Director

                                                     /s/ R. Charlie Merritt
                                                     KAREN S. BLOOM (DC # 499425)
                                                     Senior Counsel
                                                     R. CHARLIE MERRITT (VA # 89400)
                                                     Trial Attorney
                                                     U.S. Department of Justice
                                                     Civil Division, Federal Programs Branch
                                                     919 East Main Street, Suite 1900
                                                     Richmond, VA 23219
                                                     (202) 616-8098
                                                     robert.c.merritt@usdoj.gov

                                                     Counsel for Defendant


                                                     /s/ Michael Fuller
                                                     Michael Fuller, OSB No. 09357
                                                     Olsen Daines PC
                                                     US Bancorp Tower
                                                     111 SW 5th Ave., Suite 3150
                                                     Portland, Oregon 97204
                                                     michael@underdoglawyer.com
                                                     Direct 503-201-4570

                                               -2-
Case 3:17-cv-01066-JR   Document 33   Filed 01/22/19      Page 3 of 4




                                  Counsel for Plaintiff




                              3
         Case 3:17-cv-01066-JR        Document 33       Filed 01/22/19     Page 4 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing motion was delivered to all counsel of record

via the Court’s ECF notification system.

                                                    /s/ R. Charlie Merritt
                                                    R. CHARLIE MERRITT




                                                4
